
USCA1 Opinion

	










          March 29, 1996
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________


        No. 95-1741


                                   DAVID L. WELLS,

                                Petitioner, Appellant,

                                          v.

                                    JOHN MARSHALL,

                                Respondent, Appellee.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Nathaniel M. Gorton, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                            Selya and Cyr, Circuit Judges.
                                           ______________

                                 ____________________

            David L. Wells on brief pro se.
            ______________
            Scott   Harshbarger,  Attorney  General,  and  William  J.  Meade,
            ___________________                            __________________
        Assistant Attorney General, on brief for appellee.


                                 ____________________


                                 ____________________





                      Per Curiam.   We have  reviewed the record  and the
                      __________
















            parties'  briefs  and  affirm  the dismissal  of  the  habeas

            petition, filed pursuant  to 28 U.S.C.   2254,  of petitioner

            David L. Wells.  We rely essentially on the reasons set forth

            in the district court's  Memorandum and Order.  See  Wells v.
                                                            ___  _____

            Marshall,  885 F.Supp.  314  (D. Mass.  1995).   We  add  the
            ________

            following comments.

                      1.  Petitioner is not excused from exhausting state

            remedies  merely because he  claims that his  state trial was

            unconstitutional  and   that  the  allegedly   altered  trial

            transcript prevents  him from challenging  his conviction  in

            any  state proceeding.  A  new superior court  judge has been

            assigned  to   petitioner's  motion  for  a   new  trial  and

            petitioner  has  presented  no  evidence  that  he  has  been

            thwarted in  proceeding before  this judge.   Indeed,  at the

            April 26, 1995 hearing, the judge stated that he was ready to

            hear petitioner's claims and, when petitioner  indicated that

            he would rather proceed in federal court,  left to petitioner

            the  decision when to reactivate  the state action.   In this

            situation,  it  hardly  can  be  said that  resort  to  state

            remedies would be futile.   See Gagne v. Fair, 835 F.2d  6, 9
                                        ___ _____    ____

            (1st  Cir.   1987)  (unless  the  state   remedy  is  clearly

            deficient,  resort to  the state process  will not  be deemed

            futile).  Comity  therefore mandates that the  state be given

            the first  opportunity to rule  on petitioner's claims.   See
                                                                      ___

            id.;  Layne v. Gunter, 559  F.2d 850, 851-52  (1st Cir. 1977)
            ___   _____    ______



                                         -3-















            (where the state process was "revived" after petitioner filed

            a  federal  habeas  petition  and  therefore   currently  was

            available  to  him,  exhaustion   of  the  state  process  is

            appropriate), cert. denied, 434 U.S. 1038 (1978).
                          ____________

                      2.    We do  not  see  what relevance  the  problem

            petitioner  is  experiencing  with  his  vision  has  to  the

            exhaustion question.  That is, petitioner would face the same

            difficulties no  matter  in which  court  he proceeded.    If

            petitioner  requires  accommodations   --  such  as  extended

            deadlines for the filing of pleadings -- he can ask the state

            court for such adjustments.

                      3.  In  closing, we remind petitioner  that he must

            present  to the  state court  all the  grounds for  relief he

            intends to raise  in the federal court.  See  Gagne, 835 F.2d
                                                     ___  _____

            at 7 (in order to meet the exhaustion requirement, petitioner

            "must  have fairly  presented  the substance  of his  federal

            habeas  claim  to  the  state court  before  seeking  federal

            review").

                      Affirmed.  See Local Rule 27.1.
                      ________   ___















                                         -4-









